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 7                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                    Plaintiff, )               CASE NO.      CR 05 417 RSM
                                 )
12         v.                    )
                                 )
13                               )               DETENTION ORDER
    JOHN JAY CUNNINGHAM,         )
14                               )
                Defendant.       )
15 ______________________________)
16            Offense charged: Counts I and II: CONSPIRACY TO DISTRIBUTE
17                    MARIJUANA AND COCAINE.
18            Date of Detention Hearing: November 29, 2005.
19            The Court, having conducted a contested detention hearing pursuant to Title 18
20 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
21 hereafter set forth, finds that no condition or combination of conditions which the defendant
22 can meet will reasonably assure the appearance of the defendant as required and the safety
23 of any other person and the community.
24 The Government was represented by Lisca Borichewski. The defendant was represented
25 by Stephen Illa.
26


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 1      FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2         (1)   There is probable cause to believe the defendant committed the drug
 3               offense of Possession with Intent to Distribute Cocaine Base.
 4               The maximum penalty is in excess of ten years.
 5               There is therefore a rebuttable presumption against the defendant’s
 6               release based upon both dangerousness and flight risk, under Title 18
 7               U.S.C. § 3142(e).
 8         (2)   Nothing in this record satisfactorily rebuts the presumption against
 9               release for several reasons: Using the factors below, under Title 18 §
10               3142 (g), the Court considered the following:
11               (a)    The nature and circumstances of the offense charged, including
12                      whether the offense is a crime of violence or involves a narcotic
13                      drug.
14               (b)    The weight of the evidence: This case involves a search of this
15                      Defendant’s residence where in $100,000 was located under the
16                      sink. $60,000 in a safe along with a 9mm loaded magazine
17                      which te Defendant identified as his were also located in his
18                      residence.
19               (c)    The history and characteristics of the person, including:
20                      The person’s character, physical and mental condition, family
21                      ties, employment, financial resources, length of residence in the
22                      community, community ties, past conduct, history relating to drug
23                      or alcohol abuse, criminal history, record concerning appearance
24                      at court proceedings, and whether at the time of the current
25                      offense or arrest, the person was on probation, on parole, on
26                      other release pending trial, sentencing, appeal, or completion of

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 1                       sentence of an offense under Federal, State, or local law. At the
 2                       time of his arrest, this Defendant was heard telling the co.
 3                       defendant that she would be released before he would, hence she
 4                       should “liquidate everything!” While this is susceptible to a
 5                       myriad of interpretations, the Court through the use of seizure
 6                       warrants (after this hearing) is aware of joint bank accounts which
 7                       appear to be proceeds of illegal drug activity, lending some
 8                       credibility to the allegation of the Defendant’s appearance of
 9                       obstructing justice by this statement to his co-defendant
10                (d)    Risk of Flight.
11                       He is identified by law enforcement as involved in a first degree
12                       Assault and Felony Flight (eluding) in another jurisdiction. His
13                       co-defendant Luera is also implicated having allegedly assisted
14                       him in his flight.
15         Based upon the foregoing information which is consistent with the
16         recommendation of U.S. Pre-trial Services, it appears that there is no condition
17         or combination of conditions that would reasonably assure future Court
18         appearances and/or the safety of other persons or the community.
19
20         It is therefore ORDERED:
21         (l)    The defendant shall be detained pending trial and committed to the
22                custody of the Attorney General for confinement in a correction facility
23                separate, to the extent practicable, from persons awaiting or serving
24                sentences or being held in custody pending appeal;
25         (2)    The defendant shall be afforded reasonable opportunity for private
26                consultation with counsel;

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 1          (3)    On order of a court of the United States or on request of an attorney for
 2                 the Government, the person in charge of the corrections facility in which
 3                 the defendant is confined shall deliver the defendant to a United States
 4                 Marshal for the purpose of an appearance in connection with a court
 5                 proceeding; and
 6          (4)    The clerk shall direct copies of this order to counsel for the United
 7                 States, to counsel for the defendant, to the United States Marshal, and to
 8                 the United States Pretrial Services Officer.
 9
10
11   DATED this 9th day of December, 2005.
12
13
14                                                    A
                                                      MONICA J. BENTON
15                                                    United States Magistrate Judge
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